220 F.3d 805 (7th Cir. 2000)
    Brian Zentmyer,    Plaintiff-Appellant,v.Kendall County, Illinois, Richard Randall,  Sheriff of Kendall County, Deputy Hawkins,  Deputy Gawne, Deputy Hetzel, Deputy Flowers,   Deputy Pfister, Deputy Walton, Deputy Howe,   Deputy Blank and Deputy Klebba,     Defendants-Appellees.
    Nos. 99-1163 &amp; 99-1823
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued January 4, 2000
    Decided June 13, 2000
    
      Appeals from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 97 C 2831--David H. Coar, Judge. [Copyrighted Material Omitted]
      Before Cudahy, Kanne and Diane P. Wood, Circuit  Judges.
      Kanne, Circuit Judge.
    
    
      1
      While incarcerated as a  pretrial detainee at the Kendall County jail,  Brian Zentmyer contracted an ear infection that  he claims led ultimately to permanent hearing  loss in his right ear. Zentmyer brought suit  under 42 U.S.C. sec. 1983 against his jailers  claiming that they violated his Fourteenth  Amendment rights and displayed deliberate  indifference to his health in treating his  infection. Namely, Zentmyer cites the jail  deputies' failure to administer prescription  antibiotics to him on a number of occasions. We  affirm summary judgment in favor of the  defendants and hold that the defendants' actions  fell short of the deliberate indifference  standard for liability under the Fourteenth  Amendment.
    
    I.  History
    
      2
      Each morning at the Kendall County jail,  deputies check each inmate for medical complaints  and register any complaints on a sick call form.  Deputies forward emergency complaints directly to  the commanding officer, who then decides whether  to summon a doctor for immediate care. Routine  complaints are recorded for the attention of the  jail nurse, who visits twice weekly. If  necessary, the nurse may transfer an ailing  inmate to a nearby medical facility, request a  doctor's visit or order non-prescription  medication for the inmate. As required, deputies  dispense medication to inmates in accordance with  the nurse's or doctor's orders. No particular  deputy is designated to give medication to  inmates, but instead any deputy on duty at the  time is authorized to administer medication as  scheduled in the shift log. Jail officials record  each inmate complaint, medical examination and  administration of medication.
    
    
      3
      After arresting him for residential burglary,  Kendall County police booked Brian Zentmyer into  the Kendall County jail as a pretrial detainee on  January 22, 1995. Three months later, during the  evening of April 18, 1995, Zentmyer complained to  Deputy Dave Gawne that he had an earache.  Observing no ear discharge, swelling or signs of  emergency, Gawne suggested that Zentmyer go on  sick call the next morning and reported  Zentmyer's complaint in the shift log, advising  the subsequent deputy on duty to notify the  nurse. The next morning, Zentmyer followed  Gawne's instruction by asking Deputy Jim Hetzel  to place him on sick call and call the nurse.  According to jail officials, however, several  deputies miscommunicated over the radio, and as  a result, Zentmyer was not placed on sick call  and did not see Nurse Marlis Schumacher that day.  Zentmyer complained to Deputies Chris Pfister and  Rick Flowers later that afternoon, but Pfister  apologized that the nurse had already left the  jail. Pfister gave painkilling medication to  Zentmyer and wrote in the shift log that the  nurse should examine Zentmyer during her next  visit.
    
    
      4
      On April 20, 1995, Zentmyer again complained to  Hetzel, but the nurse had taken a vacation day  and was unavailable. The next morning, Zentmyer  voiced no complaint when Deputy Tim Walker  surveyed the inmates for medical care. However,  later that day, Zentmyer told Deputy Charles  Walton that he was in pain and asked to see a  doctor. Walton checked with Sergeant James Howe  who, after consulting Commander Michael Hawkins,  ordered the next shift's deputies to take  Zentmyer to the local hospital. Around 10 a.m. on  April 22, 1995, Hetzel accompanied Zentmyer to  the emergency room of the Sandwich Community  Hospital.
    
    
      5
      Dr. Deenadayal Gaddam noticed inflammation in  Zentmyer's right ear but did not see any  swelling, discharge, boils, blockage or other  signs of injury. Zentmyer reported no hearing  loss and exhibited no signs of inner-ear  infection. Gaddam diagnosed Zentmyer as suffering  only from otitis externa and otitis media,  infections of the outer and middle ear. Gaddam  later testified that Zentmyer's condition, if  left untreated over time, could have cleared up  by itself but might instead have worsened and led  potentially to hearing loss. Gaddam prescribed  the oral antibiotic Amoxicillin for the middle-  ear infection, to be taken once every eight hours  for ten days (eleven days counting the day of  prescription), and the antibiotic eardrop Otocort  for the outer-ear infection, four drops to be  administered to the ear four times daily until  the bottle was empty. Gaddam also directed  Zentmyer to see a physician in two weeks and take  Tylenol for pain or fever. Hetzel and Zentmyer  returned to the jail by 11 a.m., less than an  hour later.
    
    
      6
      Gaddam testified later that Amoxicillin must be  taken consistently to be effective, but  acknowledged that the ear infection would have  been treated so long as Zentmyer ingested all  thirty pills of Amoxicillin in the days following  the prescription, even if not taken every eight  hours. Zentmyer received the prescribed dose of  Amoxicillin on seven of the eleven days1  following the hospital visit and eventually took  the entire thirty-pill bottle of Amoxicillin.  Gaddam also testified that three applications of  Otocort a day would be sufficient for treatment  because doctors "prescribe four times hoping  [their patients] will take it three times."  Zentmyer received the prescribed doses of Otocort  on seven of twenty days following his hospital  visit, and received at least three doses on four  of the remaining thirteen days during that  period. Each day, Zentmyer received at least two  painkillers a day in addition to his prescription  medication.
    
    
      7
      Realizing that he was not taking his medication  exactly according to prescription, Zentmyer  complained to Deputy Pfister on April 27, 1995,  and warned that he would sue if he did not  receive his medication on schedule. According to  Pfister, Zentmyer became "frustrated, seemed  upset and started pacing back and forth." Pfister  told him to let the guards know if he needed  medical attention, but Zentmyer responded that it  was the duty of the deputies to administer  medication and his lawyer had advised him not to  ask the deputies for medication. As he had been  trained, Pfister instructed Zentmyer to address  him as "Deputy Pfister" and told Zentmyer that he  would be placed in isolation if he kept  complaining. When Zentmyer remained agitated,  Pfister decided to "[l]et him vent" because  "[a]ll inmates vent" and Pfister "didn't feel  that [Zentmyer] needed disciplinary action."  Zentmyer continued venting and threatened, "You  just wait, I'm going to get you in court."  Indeed, Zentmyer's lawyer had already contacted  Commander Hawkins to protest Zentmyer's  treatment. As a result, Hawkins investigated by  questioning Deputies Pfister, Hetzel and Tara  Lamons, but each answered that Zentmyer was  receiving medication as prescribed.
    
    
      8
      Zentmyer also complained about his ear to  Flowers on April 26, 1995, to Gawne on May 1,  1995, and to Deputy Sabrina Forman on May 2 and  3, 1995. On May 3, 1995, Nurse Schumacher  examined Zentmyer, who complained of an earache,  headache and bleeding from the ear. Schumacher  noticed no bleeding but found yellow drainage in  Zentmyer's right ear, so she scheduled a visit by  Dr. Jose Trevino for two days later. Trevino  found that the middle-ear infection had healed,  but diagnosed Zentmyer as still suffering from an  outer-ear infection and prescribed the  antibiotics Biaxin and Elocon, each to be taken  twice daily.
    
    
      9
      From May 6 to May 11, 1995, jail deputies  administered the prescribed amounts of Biaxin and  Elocon on five of six days.2 On May 11, 1995,  Zentmyer transferred to the Kane County jail for  temporary detainment until a May 16 transfer to  a State of Illinois prison. During medical  screening, Zentmyer did not report any hearing  loss, but the Kane County jail doctor noted  Zentmyer's outer-ear infection and recommended  that he continue his medication.
    
    
      10
      Three months later, on August 9, 1995, Dr.  Perry Santos examined Zentmyer's right ear after  Zentmyer complained again of pain. In his report,  Santos observed that "[t]here is an excoriated  area" in the right ear "most consistent with a  fingernail scratch." He found "no inflammation or  erythema or evidence of acute infection as well  as no evidence of chronic infection." Santos  explained that there was no evidence of active  outer-ear infection but there could be tenderness  associated with a recently healed infection. On  February 15, 1996, Dr. L. El-Diery examined  Zentmyer and detected no perforation of the  eardrum but noticed some ear trauma that he  suspected was caused by "manipulation of the  external ear canal with the placement of foreign  bodies by the inmate."
    
    
      11
      On April 15, 1996, Zentmyer was examined yet  again, this time by Dr. Robert Kramer who  declared Zentmyer's ear "absolutely normal" with  no evidence of infection. Nonetheless, Zentmyer  continued to report pain and hearing loss. On  Kramer's request, audiologist Kathy Betestini  tested Zentmyer's hearing with a standard  audiogram and found that Zentmyer reported no  hearing at all in his right ear. Two years later,  audiologist David Lewis performed another  audiogram on Zentmyer and also found that  Zentmyer reported no hearing in his right ear.  However, suspicious of Zentmyer's responses,  Lewis conducted a second hearing test which "did  not reveal that [Zentmyer's hearing] is as bad as  Mr. Zentmyer is claiming."
    
    
      12
      On April 22, 1997, Zentmyer sued the defendants  in district court under 42 U.S.C. sec. 1983  claiming that he was denied adequate medical care  in violation of his Eighth and Fourteenth  Amendment rights. Zentmyer argued that as a  result of the defendants' deliberate indifference  to administering his medication properly, the  medication was rendered "useless" and he  sustained a "totally dead" right ear. The  district court immediately dismissed Zentmyer's  Eighth Amendment claims, and on December 22,  1998, granted the defendants' motion for summary  judgment on Zentmyer's Fourteenth Amendment  claims.
    
    II.  Analysis
    
      13
      The Eighth Amendment proscription on the  infliction of cruel and unusual punishment  requires that the government "provide humane  conditions of confinement" and "ensure that  inmates receive adequate food, clothing, shelter,  and medical care." Farmer v. Brennan, 511 U.S.  825, 832 (1994). Among other things, these  principles prohibit jail guards from  "intentionally denying or delaying access to  medical care or intentionally interfering with  the treatment once prescribed." Estelle v.  Gamble, 429 U.S. 97, 104-05 (1976).
    
    
      14
      However, liability results only when the  defendant exhibits "deliberate indifference to  serious medical needs." Id. at 104; see also  Henderson v. Sheahan, 196 F.3d 839, 844 (7th Cir.  1999). In Farmer, the Supreme Court explained  that an inmate must satisfy a two-prong test to  establish an Eighth Amendment claim: (1) the  deprivation alleged must be objectively serious;  (2) the prison official must have exhibited  deliberate indifference to the inmate's health or  safety. Farmer, 511 U.S. at 834. Although the  Eighth Amendment does not extend to pretrial  detainees like Zentmyer, the Due Process Clause  of the Fourteenth Amendment protects pretrial  detainees under the same standard as the Eighth  Amendment. See Henderson, 196 F.3d at 844 n.2;  Payne v. Churchich, 161 F.3d 1030, 1041 (7th Cir.  1998). Zentmyer appeals summary judgment on his  Fourteenth Amendment claim "as to the individual  deputies in their individual capacities" and  argues that the defendants' failure to administer  medication exactly as prescribed constituted  deliberate indifference to serious medical needs.  We review de novo the district court's grant of  summary judgment and draw all reasonable and  justifiable inferences in favor of the non-moving  party Zentmyer. See Anderson v. Liberty Lobby,  Inc., 477 U.S. 242, 255 (1986); see also Reed v.  McBride, 178 F.3d 849, 852 (7th Cir. 1999).
    
    
      15
      An objectively serious medical need is "one  that has been diagnosed by a physician as  mandating treatment or one that is so obvious  that even a lay person would easily recognize the  necessity for a doctor's attention." Gutierrez v.  Peters, 111 F.3d 1364, 1373 (7th Cir. 1997)  (citation and internal quotation omitted).  Failure to "dispense bromides for the sniffles or  minor aches and pains or a tiny scratch or a mild  headache or minor fatigue--the sorts of ailments  for which many people who are not in prison do  not seek medical attention--does not . . .  violate the Constitution." Cooper v. Casey, 97  F.3d 914, 916 (7th Cir. 1996). Although an ear  infection is a common malady that typically  causes no permanent impairment, Zentmyer's  condition inflicted prolonged suffering and  required treatment from a nurse and two doctors  who prescribed painkillers and antibiotics for  almost a month. Zentmyer also adduced evidence  and expert testimony indicating that the  infections lingered for months afterward and led  eventually to a permanent loss of hearing.  Defendants cite credible evidence that Zentmyer's  ear infection was mild at worst and that Zentmyer  actually did not sustain hearing loss. However,  resolving all factual ambiguities in his favor,  we agree that Zentmyer raised a material question  of fact whether he suffered from an objectively  serious medical condition.
    
    
      16
      To overturn summary judgment, Zentmyer also must  demonstrate a genuine question of fact whether  the defendants were deliberately indifferent to  his medical condition. The Court explained in  Farmer that "deliberate indifference entails  something more than mere negligence." Farmer, 511  U.S. at 836; see also Pope v. Shafer, 86 F.3d 90,  92 (7th Cir. 1996); Williams v. O'Leary, 55 F.3d  320, 324 (7th Cir. 1995); Giron v. Corrections  Corp. of Am., 191 F.3d 1281, 1286 (10th Cir.  1999). For example, in Steele v. Choi, 82 F.3d  175, 178 (7th Cir. 1996), a prison doctor was not  deliberately indifferent, even assuming that a  minimally competent doctor would have been able  to identify and treat the plaintiff's injury  under the circumstances, because he was not  subjectively aware of the plaintiff's medical  needs. Under this standard, "a prison official  cannot be found liable . . . for denying an  inmate humane conditions of confinement unless  the official knows of and disregards an excessive  risk to inmate health or safety; the official  must both be aware of facts from which the  inference could be drawn that a substantial risk  of serious harm exists, and he must also draw the  inference." Farmer, 511 U.S. at 837.
    
    
      17
      Zentmyer cites the Court's prohibition in  Estelle on "intentionally interfering with the  treatment once prescribed," Estelle, 429 U.S. at  105, and claims that the deputies are liable  because they collectively did not follow the  doctors' orders in dispensing his medication.  Zentmyer points out that in total he missed five  pills of Amoxicillin out of thirty pills  prescribed over eleven days; twenty-six  applications of Otocort out of eighty  applications prescribed over twenty days; and one  dose each of Biaxin and Elocon out of ten doses  prescribed for each over six days.
    
    
      18
      However, Zentmyer does not contend that any of  the deputies named as defendants knew that  Zentmyer might suffer serious injury or pain from  the missing doses of medication. In fact, there  is no evidence that any deputy thought missing  doses of medication for an ear infection would  cause a serious injury or loss of hearing. The  doctors did not communicate to the deputies that  the medication must be constantly applied or else  be rendered useless, and Zentmyer admits that  none of the defendants noticed any pus, discharge  or other physical signs of injury from his ear  infection. A string of negligent acts can  evidence a plaintiff's exposure to a serious risk  and a prison official's awareness of such  exposure, but "showing deliberate indifference  through a pattern of neglect entails a heavy  burden." Dunigan ex rel. Nyman v. Winnebago  County, 165 F.3d 587, 591 (7th Cir. 1999).  Furthermore, liability under sec. 1983 arises  only when the plaintiff can show that the  defendant was "personally responsible for a  deprivation of a constitutional right." Vance v.  Peters, 97 F.3d 987, 992 (7th Cir. 1996).  Zentmyer does not present evidence that any  individual defendant failed to administer so many  doses that the defendant's actions by themselves  instantiate deliberate indifference, nor does  Zentmyer allege any agreement among the  defendants to deprive him of medical care.  Instead, Zentmyer argues that he missed some  medication and the deputies collectively were  responsible for administering it.
    
    
      19
      The deputies' failure to dispense Zentmyer's  medication consistently on schedule does not  manifest conscious disregard for Zentmyer's  health. They responded to Zentmyer's complaints  and administered most of his medication according  to schedule. The deputies gave him painkillers at  least twice a day for twenty days and  administered 97 of 130 doses of prescription  medication on schedule as prescribed. In total,  the deputies administered medication of various  forms to Zentmyer 162 times over twenty days from  April 22 to May 11, 1995. Zentmyer was treated by  medical professionals and received antibiotics  and painkillers regularly for a month. Indeed,  Dr. Trevino concluded that Zentmyer's middle-ear  infection had healed promptly under the deputies'  care. Based on the record before us, each of  several jail guards failed occasionally to  administer doses of medicine without knowledge  that serious consequences might result from their  lack of diligence in treating an earache. Failing  to dispense medication exactly as prescribed may  constitute negligence, see Jones v. United  States, 91 F.3d 623, 625 (3d Cir. 1996), but "the  presence of multiple acts of negligence is merely  evidentiary; it is not an alternative theory of  liability." Sellers v. Henman, 41 F.3d 1100, 1103  (7th Cir. 1994). Given that the deputies knew  only that Zentmyer suffered from an ear  infection, the deputies were not so neglectful  that deliberate indifference is apparent under  the facts alleged. See Mahan v. Plymouth County  House of Corrections, 64 F.3d 14, 18 (1st Cir.  1995) (finding that failure to administer  prescription medication did not constitute  deliberate indifference absent evidence that  prison officials knew the plaintiff would suffer  serious medical consequences without medication).
    
    
      20
      This is not to say that prison officials may  substitute their judgments for a medical  professional's prescription. Of course they  cannot. See Ralston v. McGovern, 167 F.3d 1160,  1162 (7th Cir. 1999); Johnson v. Hay, 931 F.2d  456, 461 (8th Cir. 1991). If a defendant  consciously chose to disregard a nurse or  doctor's directions in the face of medical risks,  then he may well have exhibited the necessary  deliberate indifference. But deliberate  indifference is an onerous standard for the  plaintiff, and forgetting doses of medicine,  however incompetent, is not enough to meet it  here. Zentmyer cites several cases from other  circuits decided before Estelle and Farmer  finding that denial of prescribed medication,  when combined with other privations, violated a  prisoner's substantive due process rights. None  of these cases hold that failure to administer  medication exactly as prescribed without  additional exacerbating hardships violates the  Eighth or Fourteenth Amendment. See Campbell v.  Beto, 460 F.2d 765 (5th Cir. 1972); Martinez v.  Mancusi, 443 F.2d 921 (2d Cir. 1970); Tolbert v.  Eyman, 434 F.2d 625 (9th Cir. 1970); Edwards v.  Duncan, 355 F.2d 993 (4th Cir. 1966).
    
    
      21
      Lastly, the district court properly granted  summary judgment for Commander Hawkins on  Zentmyer's Fourteenth Amendment claim. For  liability, a supervisor "must know about the  conduct and facilitate it, approve it, condone  it, or turn a blind eye," so Hawkins can be  liable as a supervisor only if Zentmyer  demonstrates that constitutionally deficient  medical care occurred at Hawkins's direction or  with his knowledge and consent. Gentry v.  Duckworth, 65 F.3d 555, 561 (7th Cir. 1995).  Zentmyer's attorney telephoned Hawkins about  Zentmyer's earache and treatment, but Hawkins  investigated the complaint and was told by three  deputies that Zentmyer was receiving medication  as prescribed. Under the circumstances, Hawkins  reasonably believed his deputies' reports and  otherwise had no involvement with Zentmyer's  medical care.
    
    III.  Conclusion
    
      22
      For the foregoing reasons, we Affirm the decision  of the district court granting the defendants'  motion for summary judgment.
    
    
      
        Notes:
      
      
        1
         Zentmyer took three pills of Amoxicillin a day on  six days. Gaddam prescribed Amoxicillin and  Otocort around midday on April 22, so Zentmyer  received only two pills of Amoxicillin and only  three applications of Otocort during the  remaining half day. Similarly, Zentmyer received  only one application of Otocort before his midday  departure from the jail on May 11.
      
      
        2
         Zentmyer received one dose of each on May 6 after  his 4:20 p.m. appointment with Trevino and one  dose of each on May 11 before his midday  discharge from the jail. Zentmyer received the  prescribed two doses of both Biaxin and Elocon on  all the remaining days except May 7, when he  received only one dose of each.
      
    
    
      23
      Diane P. Wood, Circuit Judge, concurring in part  and dissenting in part.
    
    
      24
      I agree that the district  court correctly dismissed Brian Zentmyer's sec.  1983 action with respect to all of the defendants  except Deputy Chris Pfister. With respect to him,  however, I find disputed issues of fact that  require this case to proceed to trial. I  therefore dissent with respect to the disposition  of that single claim.
    
    
      25
      Construing the record in favor of Zentmyer, as  we must on this review of summary judgment, I  agree with the majority that Zentmyer raised a  material question of fact as to whether he  suffered a serious medical need. Two doctors, Dr.  Gaddam and Dr. Kramer, testified that Zentmyer's  ear infection could cause permanent hearing loss  if improperly treated. Both doctors also offered  the medical opinion that antibiotics must be  administered on time to be effective (Dr. Gaddam  stated specifically that the medication had to be  given within two hours of the prescribed time).
    
    
      26
      The next question, as the majority notes, is  whether Zentmyer raised a material issue of fact  with respect to the deliberate indifference of  any or all of the defendants. Here I part company  with them. It is true that it will not be easy  for Zentmyer to convince a trier of fact that  Deputy Pfister displayed deliberate indifference  to his serious medical need. He will have to  prove that Pfister was aware that substantial  harm could result from failing to administer the  medication correctly, and that he then  purposefully did not give it to Zentmyer  according to schedule. See Steele v. Choi, 82  F.3d 175, 178 (7th Cir. 1996) (internal citations  omitted). What Zentmyer does not have to do is  produce a direct admission of deliberate  indifference from Pfister. As is true for  everything else in the case, circumstantial  evidence may also be used to prove that the  defendant was aware of the substantial risk to  Zentmyer's health and deliberately disregarded  that risk. See Vance v. Peters, 97 F.3d 987, 992  (7th Cir. 1996).
    
    
      27
      Zentmyer offered evidence that Pfister knew that  on April 22, 1995, Dr. Gaddam prescribed  antibiotics which Zentmyer was to take three  times daily (Amoxicillin) and four times daily  (Otocort). Jail records show clearly that the  officials did not administer the medication  according to the prescription. Zentmyer also  offered evidence that the deputies (including  Pfister) knew that as of May 5, 1995, the  infection had not cleared up, because that was  when Dr. Trevino prescribed Biaxin and Elocon  cream to be administered twice daily, and this  prescription too appeared on jail records. Again,  despite the fact that this was the second go-  round of antibiotic treatment, the medications  were not administered correctly. Pfister, when  questioned about his treatment of Zentmyer, said  that it was his policy to treat inmates as well  as they treated him, and that Zentmyer did not  treat him too well. Pfister then added that  "[Zentmyer] received a lot of medication. I have  a grandmother. I don't think she's taken this  much medication."
    
    
      28
      It is true that a jury would be entitled to  find, based on this evidence, that "[t]he  deputies' failure to dispense Zentmyer's  medication consistently on schedule does not  manifest conscious disregard for Zentmyer's  health." Ante at 811. We may not, however, resolve  that question of material fact at the summary  judgment stage. This is not a cut and dried  situation, where a record of perfectly good  treatment was followed by a few isolated  occurrences of neglect. See Gutierrez v. Peters,  111 F.3d 1364, 1374 (7th Cir. 1997). The record  shows that Zentmyer's medication was distributed  arbitrarily from the beginning of his treatment.  This is also not a case devoid of evidence that  Pfister was aware of the risks posed by lack of  treatment. Two doctors prescribed antibiotics for  Zentmyer. Zentmyer continuously complained of  pain, and of not receiving his medication at the  prescribed times. Pfister admitted to what a  reasonable person might construe as a motive to  ignore Zentmyer's plight, since he apparently  viewed Zentmyer as a hypochondriac and had  resolved to engage in some kind of tit-for-tat  treatment of Zentmyer (i.e. Zentmyer behaved  badly to him, and so he would behave badly to  Zentmyer). In the face of this evidence, the fact  that Pfister never noticed effusive bleeding or  pus in Zentmyer's ear is not conclusive on the  question of deliberate indifference. HIV, heart  disease, and many other ailments are often not  visible to the human eye, and it was not up to  Pfister or any other deputy to second-guess the  doctors' decisions about prescription medicine.
    
    
      29
      These disputed issues of fact are enough to  allow Zentmyer's claim against Pfister to go  forward. I respectfully dissent with respect to  the disposition of that claim, and I concur in  the remainder of the court's opinion.
    
    